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October 24, 2023

VIA ECF
Honorable Hector Gonzalez
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:                 Gov’t. Emps. Ins. Co. et al. v. Andrew Davy, M.D., et al.
                    Docket No.: 1:22-cv-06158-HG

Dear Judge Gonzalez:

We write on behalf of Plaintiffs (collectively “GEICO” or “Plaintiffs”) pursuant to Section IV.A of Your
Honor’s Individual Rules, seeking a pre-motion conference for an anticipated motion for summary
judgment against Defendants Andrew Davy, M.D., Big Apple Medical Services, P.C. and Big Apple
Medical Services d/b/a Hourglass Medical Services (collectively, the “Davy Defendants”). Plaintiffs’
pre-motion conference request is timely as expert discovery concluded on October 10, 2023. See D.E.
52.

Plaintiffs’ Amended Complaint seeks monetary damages and injunctive relief from the Davy Defendants
as well as from the other Defendants who defaulted, Eric St. Louis, 1 Brooklyn Consulting Corp., Precise
Wellcare Services Inc. and Lakaye Social and Human Services, LLC (collectively, the “Defaulting
Defendants”). Plaintiffs’ Amended Complaint also seeks a declaratory judgment that GEICO is not
obligated to pay any of the unpaid billing previously submitted to GEICO through Big Apple and
Hourglass (collectively, the “Davy PCs”). Plaintiffs’ intention is to move for summary judgment against
the Davy Defendants on the 1st cause of action for declaratory judgment, 6th and 10th causes of action
for common law fraud, and 7th and 11th causes of action for unjust enrichment.1 Accompanying this
letter is Plaintiffs’ draft Local Civil Rule 56.12 statement. For the reasons set forth below, Plaintiffs’
respectfully request permission to file its motion for summary judgment.

Summary judgment on GEICO’s common law fraud claims is proper because the undisputed facts
establish that the Davy Defendants (1) made material misrepresentations or omissions of fact in the bills
to GEICO, (2) knew that the facts in the bills were false (i.e., scienter), (3) intended for GEICO to rely
on the false bills, and (4) that GEICO reasonably relied on the misrepresentations and was damaged.
See Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 170 (2d Cir. 2015).
Summary judgment on GEICO’s declaratory judgment cause of action is also appropriate because there

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  GEICO has elected not to move on its RICO and RICO conspiracy cause of actions as the damages alleged are identical to
the fraud claims. See Allstate Ins. Co. v Khaimov, 2013 US Dist. LEXIS 184872, at *25 (E.D.N.Y. Nov. 18, 2013).
2
 Plaintiffs’ proposed Rule 56.1 Statement asserts all factual statements that would be included as part of its motion for summary
judgment, but citations to other portions of the supporting evidence will be updated upon briefing the motion.
    66 South Pearl Street, 11th Floor   25 Main Street                  477 Madison Avenue              2649 South Road
    Albany, NY 12207-1533               Court Plaza North, Suite 501    New York, NY 10022-5843         Poughkeepsie, NY 12601-6843
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                                        T 201.287.2460 F 201.489.0495
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is an “actual case or controversy” between GEICO and the Davy Defendants over hundreds of thousands
of dollars’ worth of charges that have not been paid or otherwise adjudicated. See 28 U.S.C. § 2201(a);
Cardinal Chem. Co. v. Morton Int’l, Inc., 508 U.S. 83, 95 (1993). Here, a judicial declaration will resolve
whether payment to the Davy Defendants is required for the pending charges submitted to GEICO. The
facts supporting the fraud claims also establish the Davy Defendants lack of entitlement to payment.
Similarly, summary judgment on GEICO’s unjust enrichment claims are proper because the Davy
Defendants were not entitled to receive the $481,233.13 paid to the Davy PCs, and that equity and good
conscious require restitution. See Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000).

I.      Material Misrepresentations

The bills submitted to GEICO by or on behalf of the Davy Defendants made the following material
representations to GEICO: (i) the Davy PCs were eligible for No-Fault benefits, pursuant to 11
N.Y.C.R.R. §65-3.16(a)(12), because they complied with all applicable laws and regulations; (ii) the
Davy PCs were eligible for No-Fault benefits because Davy personally performed or directly supervised
all of the healthcare services identified in the bills that were submitted to GEICO, i.e. shockwave therapy
(“ESWT”), transcranial doppler testing (“TDT”), and videonystagmus testing (“VNG”) (collectively,
the “Fraudulent Services”); (iii) the Fraudulent Services were actually performed on patients insured by
GEICO (“Insureds”) and were reimbursable; and (iv) the Fraudulent Services were medically necessary.

Based upon the facts set forth in the Rule 56.1 statement, each of these representations, made in every
bill submitted to GEICO, were demonstrably false. Notably, during discovery, Davy repeatedly asserted
his Fifth Amendment privilege against self-incrimination and was and remains unable to explain or
otherwise dispute the evidence that GEICO has adduced. See Gov’t Emps. Ins. Co. v. Mayzenberg, 2022
WL 5173745 at *7 (E.D.N.Y. Aug. 24, 2022). The undisputed facts establish that the above material
representations in the bills submitted to GEICO were false for the following reasons:

(i)     The Davy Defendants were ineligible for payment because the Davy PCs were not lawfully
        licensed. St. Louis, not Davy, secretly controlled the operation and finances of the Davy PCs
        related to the Fraudulent Services. Davy abdicated operation or control of the Davy PCs to St.
        Louis, who is not a licensed healthcare provider, handled all operations for the Davy PCs, and
        funneled all the profits related to the billing for Fraudulent Services through the Davy PCs to the
        Defaulting Defendants. See Gov’t Emps. Ins. Co. v. Armengol, 2022 U.S. Dist. LEXIS 10073
        *4 (E.D.N.Y., Jan. 19, 2022); Andrew Carothers, M.D., P.C. v. Progressive Ins. Co., 33 N.Y.3d
        389, 393-394 (N.Y. 2019).

(ii)    Davy did not personally perform or directly supervise any of the Fraudulent Services identified
        in the bills. The Davy PCs were not eligible for payment because the Fraudulent Services were
        performed by technicians (who are not licensed healthcare professionals) without any direct
        involvement by Davy.

(iii)   The Davy PCs were not eligible for payment because the purported Fraudulent Services were
        provided by technicians not employed by the Davy PCs. See A.M. Medical Services, P.C. v.
        Progressive Casualty Ins. Co., 101 A.D.3d 53, 62–63, (N.Y. App. Div. 2012).
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(iv)   The charges for ESWT were false because none of the services were ESWT.

(v)    None of the Fraudulent Services were reimbursable under N.Y. Ins. Law § 5102(a) because they
       were performed pursuant to pre-determined fraudulent treatment protocols by St. Louis, without
       the direct involvement of Davy or any other licensed physician.

Each of these misrepresentations represents a separate basis to establish the Davy Defendants’ fraud
against GEICO and ineligibility for payment of No-Fault benefits. See Gov't. Emps. Ins. Co. v Elmwood
Park Med. Group, P.C., 2022 U.S. Dist. LEXIS 32961 at *32-37 (E.D.N.Y. Feb. 23, 2022), adopted by
2022 U.S. Dist. LEXIS 44716 (E.D.N.Y. Mar. 14, 2022).

II.    Davy’s Knowledge of the False Facts and Intent for GEICO to Rely on the False Facts

The undisputed facts also establish Davy’s knowledge of the scheme and misrepresentations in the bills
submitted to GEICO, as well as his intention that GEICO rely on the false facts. Based on this record, a
factfinder could only conclude that the evidence establishes Davy’s fraudulent intent. See Mayzenberg,
2022 WL 5173745 at *8. It is not disputed here that Davy knew fraudulent bills were going to be
submitted to GEICO. Davy (i) entered into an agreement with St. Louis to receive money in exchange
for allowing his name to be used to bill for Fraudulent Services that he did not perform, (ii) knew that
the Fraudulent Services were performed by technicians that he did not employ, (iii) knowingly ceded all
control over the operation, management, and finances of the Davy PCs to St. Louis; (iv) spoke with the
no-fault biller and discussed billing for the Fraudulent Services; (v) entered into funding agreements to
allow for monies to be advanced to the Davy PCs from the billing for the Fraudulent Services; and (vi)
asserted his Fifth Amendment privilege when confronted with many facts and refused to provide any
testimony to counter GEICO’s evidence. These same facts, coupled with the fact that Davy retained law
firms for No-Fault billing and collection clearly establish that Davy and the Davy PCs intended for
GEICO to rely on the fraudulent bills.

III.   GEICO’s Reliance and Damages

It is similarly undisputed that GEICO reasonably relied upon the fraudulent bills submitted to GEICO
by the Davy Defendants, and that they were damaged. GEICO justifiably and reasonably relied on the
accuracy of the bills submitted to GEICO because (i) the bills were verified, pursuant to N.Y. Ins. Law.
§ 403; (ii) the Davy Defendants and Defaulting Defendants concealed the fraudulent scheme, including
the Defaulting Defendants’ involvement; and (iii) GEICO was under statutory and contractual
obligations to process the Davy PC’s claims within 30 days, which forced GEICO to rely on the Davy
Defendants’ facially-valid submissions. See Mayzenberg, 2022 WL 5173745 at *8; Gov't Emps. Ins.
Co. v. Spectrum Neurology Group, LLC 2016 U.S. Dist. LEXIS 19960 (E.D.N.Y. Feb. 17, 2016),
adopted by 2016 U.S. Dist. LEXIS 35447 (E.D.N.Y. Mar. 17, 2016). Lastly, GEICO paid $481,233.13
in reliance on the facially valid billing submitted using the name of the Davy PCs.

For the reasons set forth in this letter, GEICO respectfully requests that a pre-motion conference be
conducted at the Court’s earliest convenience and/or that a briefing schedule be adopted. The Court’s
attention to this matter is appreciated.
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                                     Respectfully submitted,

                                     RIVKIN RADLER LLP

                                     /s/ Michael Vanunu

                                     Michael Vanunu, Esq.

cc:      All counsel via ECF




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